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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


DARRIN WALKER,                                       CASE NO. 2:05-cv-449
                                                     CRIM. NO. 2:02-cr-035
               Petitioner,

       v.                                            JUDGE GRAHAM
                                                     MAGISTRATE JUDGE ABEL

UNITED STATES OF AMERICA,

               Respondent.




                                    OPINION AND ORDER

       On May 23, 2005, the Magistrate Judge issued a Report and Recommendation pursuant to

Rule 4 of the Rules Governing Section 2255 Proceedings recommending that claims C, D, and E of

the instant motion to vacate, set aside, or correct sentence under 28 U.S.C. §2255 be dismissed.1 On

June 2, 2005, petitioner filed objections to the Magistrate Judge’s Report and Recommendation.

Petitioner objects to all of the Magistrate Judge’s recommendations. He again raises the same

arguments that were previously presented.

       Pursuant to 28 U.S.C. 636(b)(1), this Court has conducted a de novo review of those portions

of the Report and Recommendation that are objected to. For the reasons discussed in the Report and

Recommendation, petitioner’s objections are OVERRULED.




       1
         Respondent was directed to file a Return of Writ as to petitioner’s claims A and B. See
Doc. No. 68. On June 9, 2005, the Return of Writ was filed. Doc. No. 70.
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      The Report and Recommendation is ADOPTED and AFFIRMED. Claims C, D, and E of

the instant §2255 action are hereby DISMISSED.

      IT IS SO ORDERED.

                                                 s/James L. Graham
                                                 JAMES L. GRAHAM
                                                 United States District Judge

DATE: June 14, 2005




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